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 5

 6 Attorneys for Plaintiff
   United States of America
 7

 8                              IN THE UNITED STATES DISTRICT COURT

 9                                  EASTERN DISTRICT OF CALIFORNIA

10
     UNITED STATES OF AMERICA,                           CASE NO. 1:22-CR-00309-ADA-DAM
11
                                  Plaintiff,
12
                           v.                            STIPULATION REGARDING EXCLUDABLE
13                                                       TIME PERIODS UNDER SPEEDY TRIAL ACT;
     LUIS MAURICIO CASTENON,                             ORDER
14
                                 Defendant.              CURRENT DATE: June 14, 2023
15                                                       TIME: 1:00 p.m.
                                                         COURT: Hon. Barbara A. McAuliffe
16

17
                                                 STIPULATION
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            Plaintiff United States of America, by and through its counsel of record, and LUIS MAURICIO
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     CASTENON, by and through defendant’s counsel of record, Anthony Capozzi, hereby stipulate as
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     follows:
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            1.     By previous order, this matter was set for status on June 14, 2023.
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            2.     By this stipulation, defendant now moves to continue the status conference until August
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     9, 2023, and to exclude time between June 14, 2023, and August 9, 2023, under 18 U.S.C.§
24
     3161(h)(7)(A), B(iv) [Local Code T4].
25
            3.     While the parties anticipate that the case may resolve without a trial, this is not yet a
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     certainty. On May 16, the Court authorized current defense counsel to substitute in on the case. On
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     June 6, 2023, defense counsel advised undersigned counsel he has not yet obtained discovery from Mr.
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      STIPULATION FOR PROTECTIVE ORDER                   1
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          Case 1:22-cr-00309-NODJ-BAM Document 36 Filed 06/07/23 Page 2 of 3

 1 Castenon’s prior counsel due to a protective order being in place. The government will get Mr. Capozzi

 2 discovery within the next two weeks. If defendant ultimately does not enter a guilty plea and decides to

 3 proceed to trial, the parties agree and stipulate, and request that the Court find the following:

 4                  a)     The government asserts that discovery in this matter has been provided to

 5          defendant’s prior counsel. The government is aware of its ongoing discovery obligations, and

 6          will provide discovery to current defense counsel as well..

 7                  b)     The parties will engage in further discussions regarding a resolution of the case.

 8                  c)     Counsel for the defendant desires additional time to consult with his client, to

 9          review the current charges, to conduct investigation and research related to the charges, to review

10          and/or copy discovery for this matter, to discuss potential resolutions with his client, to prepare

11          pretrial motions, and to otherwise prepare for trial.

12                  d)     Counsel for defendant believes that failure to grant the above-requested

13          continuance would deny them the reasonable time necessary for effective preparation, taking into

14          account the exercise of due diligence.

15                  e)     The government does not object to the continuance.

16                  f)     Based on the above-stated findings, the ends of justice served by continuing the

17          case as requested outweigh the interest of the public and the defendant in a trial within the

18          original date prescribed by the Speedy Trial Act.

19                  g)     For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161,

20          et seq., within which trial must commence, the time period of June 14, 2023 to August 9, 2023,

21          inclusive, is deemed excludable pursuant to 18 U.S.C.§ 3161(h)(7)(A), B(iv) [Local Code T4],

22          because it results from a continuance granted by the Court at defendant’s request on the basis of

23          the Court’s finding that the ends of justice served by taking such action outweigh the best interest

24          of the public and the defendant in a speedy trial.

25          4.      Nothing in this stipulation and order shall preclude a finding that other provisions of the

26 Speedy Trial Act dictate that additional time periods are excludable from the period within which a trial
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      STIPULATION FOR PROTECTIVE ORDER                    2
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 1 must commence. IT IS SO STIPULATED.

 2
           DATED: June 6, 2023                      PHILLIP A. TALBERT
 3                                                  United States Attorney
 4
                                                    By: /s/ Kimberly A. Sanchez
 5                                                  KIMBERLY A. SANCHEZ
                                                    Assistant U.S. Attorney
 6

 7
           DATED: June 6, 2023                      By: /s/ Anthony Capozzi
 8                                                  ANTHONY CAPOZZI
                                                    Attorney for Defendant
 9                                                  LUIS MAURICIO CASTENON

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11
                                               ORDER
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           IT IS SO ORDERED that the status conference is continued from June 14, 2023, to August 9,
13 2023, at 1:00 p.m. before Magistrate Judge Barbara A. McAuliffe. Time is excluded pursuant to 18

14 U.S.C.§ 3161(h)(7)(A), B(iv).

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16 IT IS SO ORDERED.

17
       Dated:     June 7, 2023                         /s/ Barbara A. McAuliffe          _
18                                               UNITED STATES MAGISTRATE JUDGE
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      STIPULATION FOR PROTECTIVE ORDER             3
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